                  Case 3:22-cr-00443-RS Document 13 Filed 02/17/23 Page 1 of 3




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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        )   CASE NO.: 22-CR-390-RS & 22-CR-443-RS
                                                      )
14           Plaintiff,                               )   STIPULATION AND ORDER TO CONTINUE
                                                      )   STATUS CONFERENCE AND EXCLUDE TIME
15      v.                                            )   FROM FEBRUARY 21, 2023 TO MARCH 21, 2023
                                                      )
16   HEVER SUAREZ                                     )
                                                      )
17           Defendant.                               )
                                                      )
18                                                    )
                                                      )
19

20           Plaintiff United States of America, by and through its counsel of record, the United States
21 Attorney for the Northern District of California and Assistant United States Attorney Charles Bisesto,

22 and defendant Hever Suarez (“Defendants”), by and through his counsel of record, Amy Craig, hereby

23 stipulates as follows:

24           1.      On October 4, 2022, a four-count criminal Indictment was filed with the Court, charging
25 Defendant with violations of 21 U.S.C. §§ 846, 841(a)(1), and (b)(1)(C), conspiracy to distribute and

26 possess with intent to distribute fentanyl and heroin, 21 U.S.C. § 841(a)(1) and (b)(1)(c), possession

27 with intent to distribute and distribution of fentanyl and heroin, and 21 U.S.C. § 843(b), unlawful use of

28 a communication facility. See Dkt. 52.

     STIPULATION TO EXCLUDE TIME AND ORDER Case No. CR
     22-390 RS                                                                                  v. 7/10/2018
                 Case 3:22-cr-00443-RS Document 13 Filed 02/17/23 Page 2 of 3




 1          2.      On October 6, 2022, Defendant was arraigned on the Indictment in Magistrate Court. His

 2 matter was set for a status conference in District Court on November 8, 2022. See Dkt. 55.

 3          3.      This matter is currently set for a status conference on February 21, 2023.

 4          4.      Defendant is continuing to discuss multiple potential ways to reach an early resolution of

 5 the matter. The parties have discussed potential parameters of a resolution, but need more time to work

 6 through the details. The parties are hopeful that additional time will assist in making progress towards a

 7 plea agreement. Because government counsel is on family leave through March 6, the parties are asking

 8 that Mr. Suarez’s case be continued to mid-March.

 9          5.      For these reasons, the parties are requesting a further status conference date of March 21,

10 2023. Additionally, the parties agree that excluding time until the March 21, 2023 court date will allow

11 for effective preparation of counsel, taking into account the exercise of due diligence. See 18 U.S.C.

12 §§ 3161(h)(7)(A), (B)(iv). The parties further stipulate and agree that the ends of justice served by

13 excluding the time from February 21, 2023 through March 21, 2023 from computation under the

14 Speedy Trial Act outweigh the best interests of the public and defendant in the prompt resolution of this

15 case. See id.

16          The undersigned Assistant United States Attorney certifies that he has obtained approval from

17 counsel for Defendants to file this stipulation and proposed order.

18
19          IT IS SO STIPULATED.

20
     DATED: February 17, 2023                                      /s/                  ___
21                                                        CHARLES F. BISESTO
                                                          Assistant United States Attorney
22

23
     DATED: February 17, 2023                                      /s/                ___
24                                                        AMY CRAIG
                                                          Counsel for Defendant Hever Suarez
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     STIPULATION TO EXCLUDE TIME AND ORDER Case No. CR
     22-390 RS                                                                                   v. 7/10/2018
               Case 3:22-cr-00443-RS Document 13 Filed 02/17/23 Page 3 of 3




 1                                                  ORDER

 2          Based upon the representations of counsel and for good cause shown, the Court continues the

 3 status conference date from February 21, 2023 to March 21, 2023. The Court further finds that failing to

 4 exclude the time from February 21, 2023 to March 21, 2023 would unreasonably deny defense counsel

 5 and Defendant the reasonable time necessary for effective preparation, taking into account the exercise

 6 of due diligence. See 18 U.S.C. §§ 3161(h)(7)(A), (B)(iv).

 7          The Court further finds that the ends of justice served by excluding the time from February 21,

 8 2023 to March 21, 2023 from computation under the Speedy Trial Act outweigh the best interests of the

 9 public and defendant in a speedy trial. See § 3161(h)(7)(A).

10          Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from

11 February 21, 2023 through March 21, 2023 shall be excluded from computation under the Speedy Trial

12 Act. See id.

13          IT IS SO ORDERED.

14
           February 17, 2023
15 DATED: ___________________                                   ______________________                ____
                                                                HON. RICHARD SEEBORG
16                                                              United States Chief District Judge

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     STIPULATION TO EXCLUDE TIME AND ORDER Case No. CR
     22-390 RS                                                                                v. 7/10/2018
